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 1                                                         Magistrate Judge Paula L. McCandlis
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 6
 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9
10
       UNITED STATES OF AMERICA,                          NO. MJ20-560
11
                              Plaintiff
12                                                        MOTION FOR DETENTION

13
                         v.
14
       LIONEL GONZALEZ TORRES,
15
                              Defendant
16
17                  The United States moves for pretrial detention of the Defendant, pursuant
18 to 18 U.S.C. 3142(e) and (f)
19          1.      Eligibility of Case. This case is eligible for a detention order because this
20 case involves (check all that apply):
21          ☐       Crime of violence (18 U.S.C. 3156).
22          ☐       Crime of Terrorism (18 U.S.C. 2332b (g)(5)(B)) with a maximum sentence
23
     of ten years or more.
24
            ☐       Crime with a maximum sentence of life imprisonment or death.
25
            ☒       Drug offense with a maximum sentence of ten years or more.
26
27
28                                                                          UNITED STATES ATTORNEY
      MOTION FOR DETENTION - 1
                                                                              700 STEWART STREET, SUITE
                                                                                         5220
                                                                             SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
                 Case 2:20-cr-00146-JCC Document 10 Filed 09/01/20 Page 2 of 3




 1          ☐       Felony offense and defendant has two prior convictions in the four
 2 categories above, or two State convictions that would otherwise fall within these four
 3 categories if federal jurisdiction had existed.
 4          ☐       Felony offense involving a minor victim other than a crime of violence.
 5
            ☐       Felony offense, other than a crime of violence, involving possession or use
 6
     of a firearm, destructive device (as those terms are defined in 18 U.S.C. 921), or any
 7
     other dangerous weapon.
 8
            ☐       Felony offense other than a crime of violence that involves a failure to
 9
     register as a Sex Offender (18 U.S.C. 2250).
10
            ☒       Serious risk the defendant will flee.
11
12          ☐       Serious risk of obstruction of justice, including intimidation of a

13 prospective witness or juror.
14       2.     Reason for Detention. The Court should detain defendant because there

15 are no conditions of release which will reasonably assure (check one or both):
16          ☒       Defendant's appearance as required.
17          ☒       Safety of any other person and the community.
18          3.      Rebuttable Presumption. The United States will invoke the rebuttable
19 presumption against defendant under 3142(e). The presumption applies because:
20          ☐       Probable cause to believe defendant committed offense within five years of
21 release following conviction for a qualifying offense committed while on pretrial release.
22        ☒      Probable cause to believe defendant committed drug offense with a
23
     maximum sentence of ten years or more.
24
            ☐       Probable cause to believe defendant committed a violation of one of the
25
     following offenses: 18 U.S.C. 924(c), 956 (conspiracy to murder or kidnap), 2332b (act
26
     of terrorism), 2332b(g)(5)(B) (crime of terrorism).
27
28                                                                          UNITED STATES ATTORNEY
      MOTION FOR DETENTION - 2
                                                                              700 STEWART STREET, SUITE
                                                                                         5220
                                                                             SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
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1
2         ☐     Probable cause to believe defendant committed an offense involving a
3 victim under the age of 18 under 18 U.S.C. 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
4 2251A, 2252(a)(1) through 2252(a)(3), 2252A(a)(1) through 2252A(a)(4), 2260, 2421,
5 2422, 2423 or 2425.
6        4.    Time for Detention Hearing. The United States requests the Court
7 conduct the detention hearing:
8         ☐     At the initial appearance
9
          ☒     After a continuance of 3 days
10
11
          DATED this 1st day of September, 2020.
12
13                                          Respectfully submitted,
14
                                            BRIAN T. MORAN
15                                          United States Attorney
16
17                                          /s/ Stephen P. Hobbs
18                                          STEPHEN P. HOBBS
                                            Assistant United States Attorney
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28                                                                    UNITED STATES ATTORNEY
     MOTION FOR DETENTION - 3
                                                                        700 STEWART STREET, SUITE
                                                                                   5220
                                                                       SEATTLE, WASHINGTON 98101
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